Case 4:20-cr-00382-SDJ-KPJ Document 2949 Filed 02/23/23 Page 1 of 1 PageID #: 21734




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    UNITED STATES OF AMERICA                      §
                                                  §
    v.                                            §          No. 4:20-CR-382
                                                  §          Judge Jordan
    SAAD AZIZ (104)                               §

                                      NOTICE OF PLEA

          The United States of America would show the Court that the defendant, Saad

   Aziz, and the government have entered into a plea in relation to the charges now pending

   before this Court.


                                                      Respectfully submitted,

                                                      BRIT FEATHERSTON
                                                      United States Attorney

                                                      ___/s/__________________________
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                                CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was filed via electronic filing to
   defense counsel on February 23, 2023.

                                                      ___/s/__________________________
                                                      ERNEST GONZALEZ
